       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Lamar Shelton Brown
       v. Commonwealth of Virginia
       Record No. 0184-17-2
       Opinion rendered by Judge Beales on
        March 20, 2018

    2. Donald Dravell Robinson
       v. Commonwealth of Virginia
       Record No. 1923-16-4
       Opinion rendered by Chief Judge Huff on
        April 3, 2018

    3. Braulio M. Castillo
       v. Loudoun County Department of Family Services
       Record No. 1499-17-4
       Opinion rendered by Chief Judge Huff on
        April 3, 2018

    4. Debra Levy
       v. Wegman’s Food Markets, Inc.
       Record No. 1634-17-4
       Opinion rendered by Judge Humphreys on
        April 3, 2018

    5. Kevin Cody
       v. Commonwealth of Virginia
       Record No. 0599-17-4
       Opinion rendered by Judge Humphreys on
        April 17, 2018
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Antonio Passaro, Jr.
   v. Virginia State Police
   Record No. 0328-16-1
   Opinion rendered by Judge Beales
    on February 21, 2017
   Refused (170378)
       On May 31, 2018 the Supreme Court issued opinions in the following cases, which had been
appealed from this Court

    1. Patricia Ann Gerald
       v. Commonwealth of Virginia
       Record No. 1931-15-2
       Memorandum opinion rendered by Chief Judge Huff on December 27, 2016
       Judgment of Court of Appeals affirmed
       (161844)

    2. Tarsha M. Gerald
       v. Commonwealth of Virginia
       Record No. 1967-15-2
       Memorandum opinion rendered by Chief Judge Huff on December 27, 2016
       Judgment of Court of Appeals affirmed
       (170356)

    3. Antonio Ricardo Lewis
       v. Commonwealth of Virginia
       Record No. 1210-16-1
       CAV petition for appeal denied by Judge O’Brien on February 10, 2017
         and by Judges Beales, Russell and Senior Judge Frank on April 5, 2017
       Judgment of Court of Appeals affirmed
       (170518)
